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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

WILLIAM BOOKMYER, et al.,
                                                Case No. 2:20-cv-2284
                    Plaintiffs,                 Judge Edmund A. Sargus, Jr.
v.                                              Magistrate Judge Kimberly A. Jolson

PNC BANK, N.A., et al.,

                    Defendants.


                                        ORDER

      This matter came before the Court on Plaintiffs’ Unopposed Motion to Dismiss

Kabbage, Inc., pursuant to Rule 21 of the Federal Rules of Civil Procedure. Plaintiffs

indicate that they have learned that Kabbage, Inc. was not the lender for loans prepared

and submitted by Plaintiffs under the Paycheck Protection Program, and therefore, not a

proper party at this time. Plaintiffs’ unopposed motion is hereby GRANTED and

Kabbage, Inc. is dismissed without prejudice as requested. (ECF No. 60.) The Clerk is

DIRECTED to remove Kabbage, Inc. as a defendant in this action.

      IT IS SO ORDERED.


8/3/2020                                 s/Edmund A. Sargus, Jr.
DATE                                     EDMUND A. SARGUS, JR.
                                         UNITED STATES DISTRICT JUDGE
